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                                UNITED STATES DISTRICT COURT
                                  DISTRICT OF CONNECTICUT
 United States of America

                   Plaintit                                        Docket No.

 vs.

 Suzanne Flynn

                   Defendant.


                                                  COMPLAINT

          The United States of America, a body politic and sovereign, acting herein by the United

States Attorney for the       District of Connecticut, complains and says:

          1   .   That this action is brought by the United States of America, with jurisdiction provided

by 28 U.S.C. Section 1345.

          2.      That the Defendant, Suzanne Flynn is a resident of the District of Connecticut.

          3. That the Defendant       is indebted to the Plaintiff in the principal amount of $42,301.05,

plus interest of $8,4i 8.90 on this principal computed at the rate of 4.080% and a daily rate of $4.73

through June 30, 2018, and thereafter at such rate as the Department establishes pursuant to Section

455(b) of the Higher Education Act           of   1965, as amended,20 U.S.C. 1087e.     ^See   Exhibit "A"

attached hereto and incorporated herein.

          4.      That the Defendant is further indebted to the Plaintiff in the principal amount of

$16,137.06, plus interest of $2,415.50 on this principal computed at the rate of 3.280%o and a daily

rate of $1.45 through June 30,2018, and thereafter at such rate as the Department establishes

pursuant to Section 455(b) of the Higher Education Act          of 1965,   as amended, 20 U.S.C. 1087e.

.See   Exhibit "B" attached hereto and incorporated herein.
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        Demand has been made upon the Defendant by the Plaintifffor the sum due, but the amount

due remains unpaid.

        Wherefore, the Plaintiff demands judgment against the Defendant for the combined total

of $69,272.51, plus costs, plus interest that accrues from January 8,2018, to the date ofjudgment.

        Plaintiff further demands, pursuant to 28 U.S.C. Section 1961, that interest on any

judgment be at the legal rate until the judgment is paid in full.

        Dated at New Haven, Connecticut on January 8, 2018.

                                       UNITED STATES OF AMERICA

                                       JOHN H.DURHAM




                                           RISTINDttCIARRINO
                                       ASSISTANT UNITED STATES ATTORNEY
                                       UNITED STATES ATTORNEY'S OFFICE
                                       157 CHURCH STREET,25th FL00R
                                       NEW HAVEN,CT 06510
                                       (203)821‐ 3700/FAX:(203)773-5373
                                       FEDERAL NO. CT03393
                                       EMAIL: CHRISTINE.SCIARRINOの USDOJ.GOV
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                                                                                                EXHIBIT

                                                                                                A
                             U.S. DEPARTMENT OF EDUCATION
                               SAN FRANCISCO, CALIFORNIA

                         CERTIFICATE OF INDEBTEDNESS #1 OF 2

                                                     Suzanne Flynn
                                                     211 Georgetown Rd
                                                     Weston, CT 06883-1224
                                                     Account No. xxx-xx-0243

I certify that U. S. Department of Education records show that the borrower named above is
indebted to the United States in the amount stated below plus additional interest from
10/13/17.

On or about 09/17 /96, 07/16/97 and 11/19/97 the borrower executed promissory note(s) to
secure loan(s) of $261.00 & $18,239.00, $321.00 & $3,591.00, and $14,585.00 & $14,917.00 from the
U.S. Department of Education. 1bis loan was disbursed for $261.00 & $18,239.00 on 10/11/96
through 01/31/97, $321.00 & $3,591.00 on 09/03/97, $14,585.00 on 12/03/97, and $14,917.00 on
01/15/98 through 03/18/98 at a variable rate of interest to be established annually. The loan was
made by the Department under the William D. Ford Federal Direct Loan Program under Title IV,
Part D of the Higher Education Act of 1965, as amended, 20 U.S.C. § 1087a et seq. (34 C.F.R. Part
685). The Department demanded payment according to the terms of the note, and the borrower
defaulted on the obligation on 12/01/12. Pursuant to 34 C.F.R. § 685.202(b), a total of $10,999.51
in unpaid interest was capitalized and added to the principal balance.

The Department has credited a total of $54,451.52 in payments from all sources, including
Treasury Department offsets, if any, to the balance. After application of these payments, the
borrower now owes the United States the following:           ·

Principal:                                           $42,301.05
Interest:                                            $ 8,007.29

Total debt as of 10/13/17:                           $50,308.34

Interest accrues on the principal shown here at the current rate of 4.08% and a daily rate of $4.73
through June 30, 2018, and thereafter at such rate as the Department establishes pursuant to
section 455(b) of the Higher Education Act of 1965, as amended, 20 U.S.C. § 1077a.

Pursuant to 28 U.S.C. § 1746(2), I certify under penalty of perjury that the foregoing is true and
correct.

Executed on: 10/13/17



                                                     ~~
                                                     Loan Analyst /Litigation Support
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                                                                                              EXHIBIT

                                                                                               B
                             U.S. DEPARTMENT OF EDUCATION
                               SAN FRANCISCO, CALIFORNIA

                         CERTIFICATE OF INDEBTEDNESS #2 OF 2


                                                     Suzanne Flynn
                                                     211 Georgetown Rd
                                                     Weston, CT 06883-1224
                                                     Account No. xxx-xx-0243

I certify that U.S. Deparb:nent of Education records show that the borrower named above is
indebted to the United States in the amount stated below plus additional interest from
10/13/17.

On or about 08/31/98, 11/17/98, and 12/21/98 the borrower executed promissory note(s) to
secure loan(s) of $3,583.00, $17,250.00, and $1,250.00 from the U.S. Deparb:nent of Education.
This loan was disbursed for $3,583.00 on 10/20/98, $17,250.00 on 12/01/98 through 01/12/99,
and $1,250.00 on 01/12/99 at a variable rate of interest to be established annually. The loan was
made by the Deparb:nent under the William D. Ford Federal Direct Loan Program under Title IV,
Part D of the Higher Education Act of 1965, as amended, 20 U.S.C. § 1087a et seq. (34 C.F.R. Part
685). The Deparb:nent demanded payment according to the terms of the note, and the borrower
defaulted on the obligation on 12/01/12. Pursuant to 34 C.F.R. § 685.202(b), a total of $2,012.72 in
unpaid interest was capitalized and added to the principal balance.

The Deparb:nent has credited a total of $19,481.74 in payments from all sources, including
Treasury Deparb:nent offsets, if any, to the balance. After application of these payments, the
borrower now owes the United States the following:

Principal:                                           $16,137.06
Interest:                                            $ 2,289.28

Total debt as of 10/13/17:                           $18,426.34

Interest accrues on the principal shown here at the current rate of 3.28% and a daily rate of $1.45
through June 30, 2018, and thereafter at such rate as the Deparb:nent establishes pursuant to
section 455(b) of the Higher Education Act of 1965, as amended, 20 U.S.C. § 1077a.

Pursuant to 28 U.S.C. § 1746(2), I certify under penalty of perjury that the foregoing is true and
correct.

Executed on: 10/13/17



                                                     ~~
                                                     Loan Analyst /Litigation Support
